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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


MINUTE ENTRY
JULY 13, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


UNITED STATES OF AMERICA
                                                               CRIMINAL ACTION
VERSUS
                                                               NO. 22-86-SDD-RLB
ANTONIO DAMON ATKINS

       This matter came on this day for Re-Arraignment.

       PRESENT: Lyman E. Thornton, III, Esq.
                Jeremy Shane Johnson, Esq.
                Matthew D. Evans, Esq.
                Counsel for the Government

                     Rusty M. Messer, Esq.
                     Aimee Elizabeth Kaloyares, Esq.
                     Counsel for Defendant

       Courtroom Deputy calls the case.

       Counsel make appearances.

       Defendant is sworn and questioned by the Court.

       Court explains the charges in the Indictment and consequences for pleading guilty.

       Plea agreement is authenticated and ordered filed into the record.

       Factual Basis is read into the record and Defendant stipulates to the facts as read.

       Court explains Sentencing.

       The Defendant enters a plea of guilty to Counts One, and Three of the Indictment,

and the Court finds the plea to be knowing, voluntary, and intelligent and finds a factual

basis for the plea and conviction. The Court also finds that the Defendant is satisfied with
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his representation and that he has received effective assistance of counsel.

       The Court accepts the guilty plea, defers acceptance of the Plea Agreement, and

refers this matter to the United States Probation Office to begin preparation of a

Presentence Investigation Report.

      Defendant is released on the conditions previously set by the Magistrate Judge.

                                         *****
Shannon Thompson/Reporter
cr9/45 mins.
